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7
                               UNITED STATES DISTRICT COURT
8
                          CENTRAL DISTRICT OF CALIFORNIA
9

10   JEFFREY B. SEDLIK, an individual,           CASE NO. 2:21-cv-01102-DSF-MRWx
11                Plaintiff,                     Before the Hon. Dale S. Fischer, U.S.
12                                               District Judge
     vs.
13

14   KATHERINE VON DRACHENBERG                   PLAINTIFF JEFFREY B. SEDLIK’S
15
     (a.k.a. “KAT VON D”), an individual;        SEPARATE STATEMENT OF
     KAT VON D, INC., a California               UNCONTROVERTED FACTS AND
16   Corporation; HIGH VOLTAGE                   CONCLUSIONS OF LAW
17   TATTOO, INC., a California
     corporation; and DOES 1 – 10, inclusive,
18
                  Defendants                     Action filed: February 7, 2021
19                                               Trial Date: July 26, 2022
20
                                                 Hearing
21
                                                 Date: April 18, 2022
22                                               Time: 1:30 p.m.
                                                 Place: First Street Courthouse
23
                                                 350 West 1st Street, Crtrm 7D Los
24                                               Angeles, California
25

26
     TO THE HONORABLE COURT, DEFENDANTS AND THEIR

27   ATTORNEYS OF RECORD:
28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 1
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1
           Pursuant to Federal Rules of Civil Procedure, Rule 56, Central District Local
2
     Rule 56-1, and this Court’s Order Re Motions for Summary Judgment, Plaintiff
3
     Jeffrey B. Sedlik submits the following statement of uncontroverted material facts
4
     and conclusions of law filed concurrently with his Motion for Summary Judgment:
5
           ///
6
            1.    Plaintiff, Jeffrey B. Sedlik (“Mr.      Declaration of Jeffrey B.
7

8
            Sedlik”), is a world-renowned, award-         Sedlik dated March 16, 2022

9
            winning professional photographer and         (“J. Sedlik Decl.”) ¶ 2

10          professor.
11          2.    He is a ten-time recipient of the       J. Sedlik Decl. ¶ 2
12          Communication Arts Award of Excellence,
13          and many other awards, including the Clio,
14          One Show, Art Directors Club, Photo
15          Design, PDN/Nikon, Creativity Award,
16          IPC Industry Leadership Award, and
17          others.
18          3.    Sedlik's work has been profiled in      J. Sedlik Decl. ¶ 2
19
            Studio Photography & Design, In Focus,
20
            Photo District News, Rangefinder, and
21
            other industry publications.
22
            4.    His fine art repertoire includes group J. Sedlik Decl. ¶ 2
23
            and solo exhibitions in Los Angeles, San
24
            Francisco, Monterey, St. Louis, and New
25
            York City.
26
            5.    In 1989, Mr. Sedlik independently       J. Sedlik Decl. ¶ 3
27
            conceived and created the iconic
28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 2
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1
            photographic portrait depicting world-
2
            famous jazz musician Miles Davis (the
3
            “Iconic Miles Davis Portrait”) that is the
4
            subject of this litigation.
5
            6.     Mr. Sedlik is the sole and exclusive    J. Sedlik Decl. ¶ 3.
6
            owner of the copyright in the Iconic Miles
7

8
            Davis Portrait which was first published in

9
            Jazziz Magazine in or around August 1989.

10          A depiction of a reproduction of the Iconic
11          Miles Davis Portrait appears below:
12

13

14

15

16

17

18

19

20

21

22
         7. Mr. Sedlik has offered and sold non-           J. Sedlik Decl. ¶ 4
23
            exclusive copyright licenses authorizing
24
            limited reproduction, distribution, display,
25
            and creation of derivative works of
26
            Sedlik’s Iconic Miles Davis Portrait for
27

28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 3
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1
            commercial and non-commercial purposes
2
            since its creation.
3
         8. Mr. Sedlik’s sole and exclusive ownership      J. Sedlik Decl. ¶ 6;
4
            of the copyright in the Iconic Miles Davis
5
            Portrait was registered by Mr. Sedlik with
6
            the United States Copyright Office, as
7

8
            recorded in Certificate of Registration

9
            Number VA645-610, issued to Mr. Sedlik

10          by the United States Copyright Office with
11          an Effective Date of Registration of July 6,
12          1994, a true and correct copy of which is
13          attached to the Complaint in this matter as
14          Exhibit “A”
15       9. Mr. Sedlik’s copyright registration is valid   J. Sedlik Decl. ¶ 5
16          and in good standing as today
17       10.Defendant Katherine Von Drachenberg            Complaint , ¶ 20
18          (“Kat Von D”) is a tattooist who has
19
            appeared on reality television shows such
20
            as “Miami Ink” and “LA Ink.”
21
         11.At all times relevant to the claims in this    Deposition of Katherine Von
22
            action, Ms. Von D owned and operated           Drachenberg dated January
23
            defendant High Voltage Tattoo, Inc.            18, 2022 (“KVD Depo”),
24
            (“HVT”), which operated a tattoo shop in       attached as Exhibit “A” to
25
            Los Angeles called “Kat Von D’s High           Declaration of Gary S.
26
            Voltage Tattoo.                                Sedlik (“G. Sedlik Decl.”),
27

28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 4
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1
                                                            p. 26:12-14, p. 69:8 through
2
                                                            p. 70:17
3
         12.At all times relevant to the claims in this     KVD Depo at p. 26:12-14, p.
4
            action, Kat Von D was an employee of            69:8 through p. 70:17
5
            High Voltage Tattoo.
6

7
         13.Kat Von D also owns and operates                KVD Depo, p. 73:1-9;.

8
            defendant Kat Von D, Inc. (“KVD, Inc.”),        Exhibit B to G. Sedlik Decl.

9           a corporation of which she is the CEO,
10          Secretary, CFO, sole owner and sole
11          shareholder, and whose stated official
12          purpose was, until a few months ago,
13          “Personal Services - Body Art.”
14       14. During the pendency of this litigation (but    Exhibit C to G. Sedlik Decl,
15          years after the relevant acts underlying
16          Plaintiff’s claims in this action took place)
17          Ms. Von D apparently chose to modify the
18          corporate purpose of KVD, Inc. from
19
            “body art” to “Artist/Actress.”
20
         15. Kat Von D is the sole employee of Kat          KVD Depo, p. 73:1-8
21
            Von D, Inc.
22
         16.On or around March 18, 2017, Defendants         Defendant’s Answer to
23
            posted to one of their Instagram accounts       Complaint, Dkt. 13
24
            that was and is owned or controlled by          (“Answer”) at ¶ 32
25
            Defendants an image of Kat Von D in the
26
            process of reproducing Mr. Sedlik’s Iconic
27

28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 5
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1
            Miles Davis Portrait in the form of a
2
            derivative work (a tattoo).
3
         17.This Instagram post also displays an          Defendant’s Answer to
4
            unauthorized reproduction of the Iconic       Complaint, Dkt. 13 at ¶ 32
5
            Miles Davis Portrait, which is prominently
6
            featured in the middle of the post, which
7

8
            Ms. Von D is apparently using as a visual

9
            aid and reference to precisely copy and

10          replicate Mr. Sedlik’s Iconic Miles Davis
11          Portrait
12       18.The Defendants distributed, reproduced        Complaint, Dkt. 1 at ¶¶ 32,
13          and displayed and published the               43, 45, 46, 47, 51, 52, 53,
14          photograph of Kat Von D in the act of         57, 58, 59, 60, 64, 65, 66,
15          infringing Mr. Sedlik’s copyright,            70, 71, 72, 76; Defendant’s
16          publishing that photograph and others         Answer to Complaint, Dkt.
17          depicting the resulting infringing Miles      13 at ¶¶ 32, 43, 45, 46, 47,
18          Davis Tattoo and other infringing             51, 52, 53, 57, 58, 59, 60,
19
            reproductions of the Iconic Miles Davis       64, 65, 66, 70, 71, 72, 76
20
            Portrait on Instagram and other social
21
            media platforms.
22
         19. Defendants further exploited the derivative Id.
23
            Miles Davis Tattoo by engaging in an
24
            organized, methodical cross-promotional
25
            campaign in which Defendants each
26
            repeatedly induced, enabled and facilitated
27
            public postings photographs of the
28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 6
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1
            infringing Miles Davis Tattoo to each
2
            other’s social media accounts, and in such
3
            posting, included hyperlinks to
4
            Defendants’ other social media account/s,
5
            so as to maximize their illicit distribution
6
            and display of the infringing Miles Davis
7

8
            Tattoo and to induce, enable and facilitate

9
            third party “sharing" of the depictions oif

10          the infringing Miles Davis Tattoo, in an
11          effort to increase exposure to and
12          engagement with a global audience of
13          paying customers and potential customers
14          for Defendants’ various businesses and
15          business ventures, which (at all relevant
16          times) has not only included body art, but
17          has also include make-up, shoes, clothing,
18          music releases, music performances, and
19          other products and services.
20
         20.. By repeatedly publishing their infringing    Id.
21
            reproductions of Mr. Sedlik’s Iconic Miles
22
            Davis Portrait (along with Kat Von D’s
23
            infringing derivative work of the Iconic
24
            Miles Davis Portrait) to their tens of
25
            millions of social media followers around
26
            the world, Defendants induced, enabled,
27
            facilitated, and otherwise encouraged each
28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 7
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1
            other and third parties s to infringe Mr.
2
            Sedlik’s copyright through further,
3
            uncontrolled, viral unauthorized
4
            reproduction, distribution and display.
5
         21.None of the Defendants sought or obtained      Answer at ¶¶ 26, 27, 28, 80
6
            Mr. Sedlik’s permission or a license to use,
7

8
            reproduce, distribute, display, make

9
            derivative works of, publish or otherwise

10          use and exploit Mr. Sedlik’s copyright-
11          protected Iconic Miles Davis Portrait on
12          their social media accounts or in any other
13          media, for any purpose
14       22.A reproduction of one of the March 18,         Answer at ¶ 32
15          2017 Instagram post is provided below,
16          not only depicting Kat Von D in the act of
17          copying Mr. Sedlik’s photograph in an
18          infringing derivative tattoo, but also
19
            prominently displaying an unauthorized
20
            reproduction of that Iconic Miles Davis
21
            Portrait, as used for reference by Kat Von
22
            D to facilitate her efforts to precisely
23
            replicate the essential protected expression
24
            embodied in Mr. Sedlik’s photograph.
25
         23.On or about May 16, 2017, Defendants           Answer at ¶¶ 47, 49;
26
            published the following image on Kat Von       Complaint at ¶¶ 47, 49
27
            D’s Instagram page. The May 16, 2017
28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 8
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1
            image (“May 16, 2017 KVD Final
2
            Instagram Post”) depicts a nearly exact
3
            duplication of the Iconic Miles Davis
4
            Portrait as a derivative work reproduced by
5
            Defendant Kat Von D in the form of a
6
            derivative tattoo. Kat Von D captioned the
7

8
            May 17, 2017 KVD Final Instagram Post:

9
            “Final #MilesDavis portrait I tattooed at

10          @highvoltagetat �”, not only failing to
11          provide attribution to Mr. Sedlik, but also
12          falsely claiming authorship of the portrait,
13          while knowing that she did not in fact
14          author that portrait, in a purposeful effort to
15          conceal her infringing activity
16       24. Continuing their coordinated promotional         Answer at ¶¶ 53, 57, 58, 59;
17          campaign, Defendants shared and                   Complaint at ¶¶ 53, 57, 58,
18          duplicated this image, including the              59
19          unauthorized derivate work of the Iconic
20
            Miles Davis Portrait, with each other,
21
            inducing, enabling, facilitating and
22
            encouraging the other Defendants and the
23
            public to unlawfully reproduce the same
24
            image on their respective social media
25
            accounts. By posting this image on their
26
            social media accounts and publishing an
27
            unauthorized derivative work of Mr.
28




     PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 9
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1
             Sedlik’s copyrighted Iconic Miles Davis
2
             Portrait to tens of millions of people around
3
             the world, Defendants induced, enabled,
4
             facilitated and otherwise encouraged others
5
             to unlawfully reproduce, distribute and
6
             display the Iconic Miles Davis Portrait.
7

8
          25. One year later, on or about April 26, 2018, Answer at ¶¶ 72, 73, 74, 76;

9
             Defendants published the following image        Complaint at ¶¶ 72, 73, 74,

10           on High Voltage Tattoo’s Instagram page:        76
11           The April 26, 2018 image (“April 26, 2018
12           HVT Instagram Post”) depicts the ¨final
13           product¨ of defendant Kat Von D’s
14           unauthorized and unlicensed reproduction
15           and derivative work made from the Iconic
16           Miles Davis Portrait in the form of a
17           tattoo.The April 26, 2018 HVT Instagram
18           Post depicts a nearly exact unauthorized
19           derivative of the Iconic Miles Davis
20
             Portrait as reproduced by defendant Kat
21
             Von D in the form of a tattoo.Defendants
22
             captioned the April 26, 2018 HVT
23
             Instagram Post, somewhat ironically, with
24
             an apparent quotation from Miles Davis
25
             praising the creation of original works of
26
             art: ““When you’re creating your own shit,
27
             man, even the sky ain’t the limit.” -Miles
28




      PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 10
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1
             Davis [tattoo by @thekatvond]”.
2
             Defendants “tagged” Kat Von D’s
3
             Instagram username for the purpose of
4
             promoting and soliciting sales of products
5
             and services offered by Kat Von D, KVD,
6
             Inc. and High Voltage Tattoo.
7

8
          26.Defendants also posted videos depicting        Answer at ¶¶ 38, 39, 40, 41,

9
             Mr. Sedlik’s Iconic Miles Davis Portrait to    42, 43, 44, 45, 46;

10           their social media accounts, and induced,      Complaint at ¶¶ 38, 39, 40,
11           enabled and facilitated third parties to share 41, 42, 43, 44, 45, 46; KVD
12           and post videos online displaying,             Depo p. 171:21 – p. 173:10.
13           distributing, reproducing and publishing       KVD Depo Exhibit 218
14           Mr. Sedlik’s Iconic Miles Davis Portrait
15           without his permission or a license.
16        27.Defendants strategically utilized their        KVD Depo p. 152:2 through
17           social media accounts to cross-promote         p. 153:16
18           their various brands, products and services,
19
             and regularly monitored and assessed the
20
             performance of individual social media
21
             posts to determine their customer
22
             engagement and to otherwise determine the
23
             effectiveness of their commercial
24
             campaigns.
25
          28.By proclaiming to millions of her followers Answer at ¶¶ 47, 49, 81;
26
             in her May 16, 2017 KVD Final Instagram        Complaint at ¶¶ 47, 49, 81
27
             Post (along with other social media posts
28




      PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 11
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1
             made by Kat Von D and other Defendants)
2
             that Kat Von D had “made” a portrait of
3
             Miles Davis, Kat Von D knowingly
4
             appended false Copyright Management
5
             Information to the unauthorized derivative
6
             tattoo of Mr. Sedlik’s Iconic Miles Davis
7

8
             Portrait, with the intent to mislead the

9
             public and to conceal her infringement and

10           to further conceal the fact that Mr. Sedlik,
11           not Kat Von D, conceived and created the
12           Iconic Miles Davis Portrait, and that Mr.
13           Sedlik, not Kat Von D is the copyright
14           owner of the Iconic Miles Davis Portrait.
15        29.On about February 10, 2018, Mr. Sedlik         Complaint at ¶ 83, J. Sedlik
16           discovered, for the first time, that           Decl. at ¶ 9
17           Defendants had made, distributed and
18           displayed the unauthorized derivative
19           tattoo and the various unauthorized
20
             reproductions of his copyrighted Iconic
21
             Miles Davis Portrait.
22
          30.Defendants had access to the Iconic Miles      KVD Depo, p. 122:9-11, p.
23
             Davis Portrait in advance of rendering the     122:20 – p. 123:1, p. 127:9-
24
             Miles Davis Tattoo.                            11, p. 127:17 - p. 128:4, p.
25
                                                            128:18 – p. 130:7
26

27

28




      PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 12
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1
          31.Further, Defendants admit that they              KVD Depo p. 122:9-11; p.
2
             obtained, viewed and used digital and            127:17 through p. 128:4; P.
3
             printed copies of the Iconic Miles Davis         136:21-23
4
             Portrait prior to making the tattoo that is
5
             the subject of this lawsuit.
6
          32.Multiple photographs and videos depicting        Rebuttal Expert Report of
7

8
             Kat Von D meticulously tracing Mr.               Professor Jeffrey Sedlik

9
             Sedlik’s Iconic Miles Davis Portrait on a        dated February 8, 2022

10           light box in order to replicate the details of   (“Sedlik Rept”), p. 10
11           the Iconic Miles Davis Portrait and then         through p. 13
12           transfer those details in through that
13           tracing to her client’s arm, in the form of a
14           derivative tattoo.
15        33. Defendants readily admitted in their            KVD Depo, p. 196:14
16           deposition that they had full knowledge          through p. 199:6
17           that it would be unlawful for a business to
18           use a photographer’s image without prior
19
             permission.
20

21                                     Respectfully submitted,
22
                                       SEDLIKGROUP, P.C.
23

24                                     By: /s/Gary S. Sedlik
                                       Gary S. Sedlik, Esq.
25
                                       Attorneys for Plaintiff Jeffrey B. Sedlik
26

27

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      PLAINTIFF’S SEPARATE STATEMENT OF UNCONVERTED FACTS - PAGE 13
